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             IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                   Plaintiff,

vs.                                                 Case No. 06-40056-02-SAC


KENNETH EUGENE ALLEN, JR.,

                   Defendant.

                          MEMORANDUM AND ORDER

             This case comes before the court on defendant’s motion in limine

regarding prior bad acts. Dk. 55. The government objects to the motion.

             Defendant contends that evidence of his prior convictions is

inadmissible under Fed. R. Evid. 404(b) because his prior crimes are not similar to

the present ones and their admission would serve solely to show that defendant has

a bad character. Defendant additionally contends that his prior convictions are

inadmissible to impeach defendant under Fed. R. Evid. 609, because they are more

prejudicial than probative, do not involve dishonesty or false statement, and are

remote in time.

             The government responds that it intends to offer evidence of
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defendant’s 2002 conviction for “felon in possession of a firearm”1 to show

defendant’s knowledge, motive, intent, and absence of mistake or accident in his

joint display and possession of the firearm used during the robbery alleged in the

charged counts, and to counter his alibi evidence. The government asserts that any

prejudicial effect can be prevented or cured by a limiting instruction.

             Defendant’s prior felony conviction is admissible under Rule

609(a)(1) if defendant testifies at trial and its probative value outweighs its

prejudicial effect, even if it is inadmissible under Rule 404(b). United States v.

Haslip, 160 F.3d 649, 654 (10th Cir. 1998). As to the government’s intent to offer

defendant’s prior gun felony pursuant to 404(b) regardless of whether or not

defendant testifies, the court will delay its ruling until trial when it has a better

understanding of the evidence concerning the similarities between that offense and

the current offenses, and the purposes for which the evidence is being offered.

             The court next addresses defendant’s prior bad acts not resulting in

conviction, specifically, defendant’s prior arrests arising from threats and/or

altercations with defendant’s proposed alibi witness, Ms. Tanya Sullivan.


      1
       Although neither party has summarized or listed defendant’s prior
convictions, from scattered references in the pleadings it appears that in addition to
defendant’s 18 U.S.C.§ 922(g) conviction he has convictions in 1999 for
obstruction of legal process and driving with a suspended license. From the
government’s representations, the court understands that the government does not
intend to offer any prior conviction but defendant’s 922(g) conviction.
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Defendant’s previous counsel stated that she has no objection to admission of

evidence of the police call regarding defendant and Ms. Sullivan on the night of the

charged robbery, but objects to evidence of defendant’s prior arrests which did not

result in a conviction. Such evidence is admissible for purposes of impeaching the

alibi witness in the event she testifies. Further, this evidence may be

independently admissible to show defendant’s consciousness of guilt. See United

States v. Nichols, 374 F.3d 959, 967 (10 Cir. 2004) (a defendant's threat against a

potential witness is admissible under Rule 404(b) for the purpose of showing

consciousness of guilt if a direct connection is established between the defendant

and the threat.) The court needs further information about the prior altercations

between the defendant and the witness, such as the dates on which the events

occurred, their similarity to the events on the night of the robbery, and the nature of

the threats made, before it makes a definitive ruling on the independent

admissibility of these bad acts. Accordingly, this matter is taken under advisement

until a point during trial at which a more informed decision can be made.

             The court directs the government and its witnesses not to mention

before the jury this prior firearm conviction or the conduct underlying it, or the

prior altercations between defendant and the alibi witness without first approaching

the bench and proffering further details showing its relevance and admissibility

under Rules 404(b) and 403.
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             IT IS THEREFORE ORDERED that defendant’s motion in limine

regarding prior bad acts (Dk. 55) is denied as to defendant’s prior arrests arising

from threats and/or altercations with defendant’s proposed alibi witness in the

event she testifies, but may be reconsidered at trial, and is taken under advisement

regarding all remaining challenged evidence.

             Dated this 15th day of November, 2006, Topeka, Kansas.


                                 s/ Sam A. Crow
                                 Sam A. Crow, U.S. District Senior Judge
